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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 THE COLUMBIA GROUP, INC.

        Plaintiff,

        v.                                             Civil Action No. 1:20-cv-127

 LOGISTICS MANAGEMENT
 INSTITUTE

        Defendant.


         DEFENDANT’S FINANCIAL INTEREST DISCLOSURE STATEMENT

        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Rule 7.1 of this Court’s

Local Civil Rules, Defendant Logistics Management Institute (“LMI”), by counsel, hereby

certifies that LMI does not have any parent corporation, trust, subsidiary, or affiliate entity that has

issued stock or debt securities to the public, and no publicly held entity owns 10% or more of LMI.


                                                Respectfully Submitted,

Dated: February 6, 2020                         /s/
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                                                Counsel for Defendant
                                                Logistics Management Institute




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                                 CERTFICATE OF SERVICE

       I hereby certify that on the 6th day of February 2020, a true and correct copy of the
foregoing was sent via first class mail and email to:


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